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                   IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF OREGON

                                 EUGENE DIVISION


   Elizabeth HUNTER; et al,
                                                                     Case No. 6:21-cv-00474-AA
                               Plaintiffs,
                                                                     PLAINTIFFS’ MOTION
                                      v.                             AND MEMORANDUM IN
                                                                     SUPPORT OF MOTION
                                                                     FOR LEAVE TO FILE
    U.S. DEPARTMENT OF EDUCATION; and Suzanne                        SECOND AMENDED
GOLDBERG, in her official capacity as Assistant Secretary            COMPLAINT
for the Office of Civil Rights, U.S. Department of
Education,                                                           PURSUANT TO FRCP 15
                               Defendants,                           ORAL ARGUMENT
                                                                     REQUESTED
 COUNCIL FOR CHRISTIAN COLLEGES &
 UNIVERSITIES, WESTERN BAPTIST COLLEGE
 d/b/a CORBAN UNIVERSITY, WILLIAM JESSUP
 UNIVERSITY AND PHOENIX SEMINARY,
                               Intervenor-Defendants.


                                                        Religious Exemption Accountability Project
                                                                        Paul Southwick Law, LLC
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                                     LR 7-1 CONFERRAL

   The parties made a good faith effort through telephone conference, voicemail and email on

December 1 and 2, 2021, to resolve the issues in dispute in this Motion but were unable to do so.

Counsel for Plaintiffs provided counsel for Defendants and Defendant-Intervenors with an

advance, redlined copy of the Proposed Second Amended Complaint on December 1, 2021.

                                            MOTION

   Plaintiffs hereby move for leave to Amend to file their Proposed Second Amended Complaint

(“SAC”) pursuant to Rule 15 of the Federal Rules of Civil Procedure. This Motion is supported by

the enclosed Memorandum of Law; a clean copy of the Proposed SAC as Exhibit 1; a redline

version of the Proposed SAC as Exhibit 2; and the Exhibits to the Proposed SAC as Exhibits A-

LL. The Exhibits to the SAC are the same Exhibits as attached to the original Complaint and the

First Amended Complaint (“FAC”).

   Thus, Plaintiffs respectfully request that the Court grant Plaintiffs’ Motion and grant Plaintiffs

leave to file the Proposed SAC.

                                    MEMORANDUM OF LAW

       I.     INTRODUCTION

   Pursuant to Rule 15 of the Federal Rules of Civil Procedure, Plaintiffs respectfully move the

Court for leave to file the proposed SAC attached as Exhibit 1. “[A] party may amend its pleading

only with the opposing party’s written consent or the court’s leave” but “the court should freely

give leave when justice so requires.” FRCP 15(a)(2).

   Plaintiffs filed their original Complaint on March 29, 2021. Plaintiffs filed their First Amended

Complaint on June 7, 2021, prior to Defendants’ filing a response to Plaintiffs’ Complaint. As

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Plaintiffs have already amended their complaint once, Plaintiffs seek leave of the court to amend

the complaint. The proposed changes to the complaint primarily include the following:

               (a) Adding allegations regarding Plaintiffs’ Title IX administrative complaints

                   filed subsequent to the FAC;

               (b) Amending the prayer for relief for greater consistency with the relief requested

                   in Plaintiffs’ Motion for Preliminary Injunction;

               (c) Replacing Defendant Goldberg, who had been serving as Acting Assistant

                   Secretary of OCR, with Catherine Lhamon, the recently confirmed Assistant

                   Secretary of OCR;

               (d) Adding eight (8) new Plaintiffs; and

               (e) Updating the caption and formatting.

   Allowing Plaintiffs to file the SAC would serve justice and promote judicial efficiency.

Further, there would be no substantial or undue prejudice, bad faith, undue delay, or futility. For

all these reasons, and those stated below, Plaintiffs respectfully request that the Court grant

Plaintiffs leave to file the attached SAC.

       II.     STANDARD

       “The Supreme Court has instructed the lower federal courts to heed carefully the command

of Rule 15(a), F.R.Civ.P., by freely granting leave to amend when justice so requires.” Howey v.

United States, 481 F.2d 1187, 1190 (9th Cir. 1973). The Federal Rule of Civil Procedure 15(a)(2)

states that, other than the right to amend under Rule 15(a)(1), “a party may amend its pleading

only with the opposing party’s written consent or the court’s leave. The court should freely give

leave when justice so requires.”


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       III.    ARGUMENT

               A. This Court should freely grant Plaintiffs’ Motion.

       Under Rule 15, the Ninth Circuit has “repeatedly stressed that the court must remain guided

by ‘the underlying purpose of Rule 15...to facilitate decision on the merits, rather than on the

pleadings or technicalities.’” Lopez v. Smith, 203 F.3d 1122, 1127 (9th Cir.2000) (en banc)

(internal citation omitted).

       In the absence of undue delay, bad faith, dilatory motive, undue prejudice, or futility, “the

leave sought should, as the rules require, be ‘freely given.’” Foman v. Davis, 371 U.S. 178, 182

(1962). A bald assertion of prejudice is insufficient to “overcome the strong policy reflected in

Rule 15(a).” Hurn v. Ret. Fund Tr. of Plumbing, Heating & Piping Indus., 648 F.2d 1252, 1254

(9th Cir. 1981) (internal citations omitted). “Only where prejudice is shown or the movant acts in

bad faith are courts protecting the judicial system or other litigants when they deny leave to amend

a pleading.” Howey v. United States, 481 F.2d 1187, 1191 (9th Cir. 1973).

       None of those concerns are present here. There is no undue delay because the litigation is

in its early stages. Moreover, Plaintiffs acted with sufficient speed to amend to include new

allegations of the filing of Title IX complaints. Additionally, some of the proposed new plaintiffs

describe discrimination that occurred after the filing of the FAC in June 2021.

       There is no evidence of bad faith or dilatory motive.

       Plaintiffs’ Motion would not cause undue prejudice to Defendants or Intervenor-

Defendants. Only very limited discovery has occurred. Additionally, Plaintiffs have not proposed

new claims. Moreover, Defendants and Intervenor-Defendants have ample time to prepare a

defense to the new allegations, particularly as many of the new allegations relating to Title IX

administrative complaints were previously addressed in briefing by the parties regarding Plaintiffs’

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Motion for Preliminary Injunction. Testimony from the preliminary injunction hearing also placed

Defendants and Defendant-Intervenors on notice of at least some of the proposed allegations,

including testimony by one of the new proposed plaintiffs, Kalie Hargrove, who provided

testimony that she intended to join the litigation as a plaintiff.

           The new allegations in Plaintiffs’ proposed SAC are not futile. The legal claims and

Defendants remain the same. Moreover, the operative facts from the FAC and the Motion for

Preliminary Injunction briefing and hearing remain largely the same. Plaintiffs’ new allegations

are not futile for the same reasons that Plaintiffs’ allegations in the FAC and arguments in the

Motion for Preliminary Injunction briefing and hearing are not futile.

           Consequently, justice requires allowing Plaintiffs to amend their complaint. Moreover, the

proposed new plaintiffs provide allegations that demonstrate that unlawful action and

discrimination by the government is ongoing and occurring on a widespread basis at taxpayer-

funded, religious universities across the country. These proposed new plaintiffs seek to be heard.

Their allegations contribute to the full consideration of the issues before the Court and will

facilitate a decision on the merits.

           Thus, because there is no demonstration of prejudice, undue delay, bad faith, futility or

dilatory motive, this Court should grant Plaintiffs’ Motion.

              CONCLUSION

    For the foregoing reasons, Plaintiffs ask that the Court grant them leave to amend their

Complaint in this action and allow them to file their proposed Second Amended Complaint.

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Dated: December 2, 2021

                                             s/ Paul Carlos Southwick

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